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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION


             JOSE TAPIA-CORNESO,                     :    MOTION TO VACATE
                  Movant,                            :    28 U.S.C. § 2255
                                                     :
                   v.                                :    CRIMINAL ACTION NO.
                                                     :    1:07-CR-0279-CAP-GGB-37
                                                     :
             LINDA SANDERS, Warden,                  :    CIVIL ACTION NO.
                 Respondent.                         :    1:11-CV-3477-CAP-GGB


                             FINAL REPORT AND RECOMMENDATION

                   This case was transferred to this Court from the United States District Court

             for the Central District of California. [Doc. 1933]. Movant, currently incarcerated

             at the Federal Correctional Institution in Lompoc, California, filed an action in the

             California district court purportedly under 28 U.S.C. § 2241. The California district

             court construed the petition as a motion filed under 28 U.S.C. § 2255, because

             Movant’s claims challenge the legality of his sentence, and transferred the § 2255

             motion to this Court, where Movant was convicted and sentenced. [Id.]. Before me

             for consideration are the § 2255 motion [Doc. 1929] and the Government’s response

             [Doc. 1930], amended response [Doc. 1931], and motion to dismiss [Doc. 1932]. For

             the reasons discussed below, I recommend that the § 2255 motion be dismissed as

             successive.



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             I. Background

                   On September 30, 2008, Movant entered a negotiated plea of guilty in this

             Court for conspiracy to possess with intent to distribute at least five kilograms of

             cocaine and at least five hundred grams of methamphetamine. [Doc. 750]. As part

             of his plea agreement, Movant waived his right to appeal or collaterally attack his

             conviction and sentence. [Doc. 750-1 at 7, ¶ 16]. On September 14, 2009, Movant

             was sentenced to 288 months of imprisonment. [Doc. 1418].

                   Movant appealed his sentence to the United States Court of Appeals for the

             Eleventh Circuit. [Doc. 1453]. On February 24, 2010, the Eleventh Circuit granted

             the Government’s motion to dismiss the appeal due to a valid appeal waiver in

             Movant’s plea agreement. [Doc. 1745].

                   On June 18, 2010, Movant filed a motion to vacate sentence under 28 U.S.C.

             § 2255 in this Court. [Doc. 1793]. In that motion, Movant argued that (1) his

             conviction and sentence are unconstitutional under Apprendi v. New Jersey, 530 U.S.

             466 (2000); (2) his conviction was obtained based on outrageous governmental

             conduct; (3) his counsel’s performance was ineffective; and (4) his pre-sentence

             investigation report contained errors that required re-sentencing. [Id.]. On July 13,

             2010, this Court denied Movant’s § 2255 motion. [Doc. 1801]. Movant appealed,




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             and the Eleventh Circuit denied Movant’s application for a certificate of appealability

             and dismissed his appeal. [Doc. 1879].

                   On July 8, 2011, Movant filed a petition in the California district court, called

             “Petition for Actual Innocent Claim Pursuant to Habeas Corpus 28 U.S.C. § 2241.”

             [Doc. 1929]. In his petition, Petitioner raises the following claims: (1) the district

             court’s imposition of his sentence was unconstitutional under Apprendi and Blakely

             v. Washington, 542 U.S. 296 (2004), and in violation of the Rules of Criminal

             Procedure; Movant’s presentence investigation report contains errors that require

             resentencing; the district court’s sentence was not reasonable under the sentencing

             guidelines; and Movant received ineffective assistance of counsel based on his

             counsel’s failure to investigate. [Id.]. On August 26, 2011, the Government filed a

             motion to dismiss in the California district court, contending that the petition should

             be construed as a motion under § 2255 and be dismissed for lack of jurisdiction,

             untimeliness, and successiveness. [Doc. 1932]. The Government alternatively

             argued that the petition should be construed as a § 2255 motion and be transferred to

             this Court. [Id.]. On October 5, 2011, the California district court construed the

             petition as a § 2255 motion and transferred it to this Court, along with the

             Government’s motion to dismiss. [Doc. 1933].




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             II. Discussion

                    Movant’s § 2255 motion is subject to dismissal because Movant already has

             filed, and this Court has considered, a § 2255 motion challenging his conviction and

             sentence. [Docs. 1793, 1802]. “Before a second or successive application permitted

             by this section is filed in the district court, the applicant shall move in the appropriate

             court of appeals for an order authorizing the district court to consider the

             application.” 28 U.S.C. § 2244(b)(3)(A).          Therefore, Movant must now seek

             authorization from the Eleventh Circuit to file a successive § 2255 motion in this

             Court. Because Movant has not obtained authorization, this Court lacks jurisdiction

             to consider his motion. See Farris v. United States, 333 F.3d 1211, 1216 (11th Cir.

             2003) (“Without authorization, the district court lacks jurisdiction to consider a

             second or successive petition.”).

             III. Certificate of Appealability

                    According to Rule 11 of the Rules Governing Section 2255 Proceedings for the

             United States District Courts, a district court “must issue or deny a certificate of

             appealability when it enters a final order adverse to the applicant.” Under 28 U.S.C.

             § 2253(c)(2), a certificate of appealability shall not issue unless “the applicant has

             made a substantial showing of the denial of a constitutional right.” A prisoner

             satisfies this standard by demonstrating that reasonable jurists would find that the


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             district court’s assessment of his constitutional claims is debatable or wrong and that

             any dispositive procedural ruling by the district court is likewise debatable. See

             Miller-El v. Cockrell, 537 U.S. 322, 336 (2003); Slack v. McDaniel, 529 U.S. 473,

             484 (2000).

                   Movant has failed to make a substantial showing of the denial of a

             constitutional right. Movant’s motion is successive, and he must seek authorization

             from the Eleventh Circuit in order for this Court to consider it. Accordingly, I

             RECOMMEND that a certificate of appealability be DENIED.

             IV. Conclusion

                   Based on the foregoing, I RECOMMEND that the Government’s motion to

             dismiss [Doc. 1932] be GRANTED and that Movant’s § 2255 motion [Doc. 1929]

             be DISMISSED as successive.

                   I FURTHER RECOMMEND that a certificate of appealability be DENIED.

                   The Clerk is DIRECTED to terminate the referral to me.

                   IT IS SO RECOMMENDED, this 27th day of October, 2011.


                                                     GERRILYN G. BRILL
                                                     UNITED STATES MAGISTRATE JUDGE




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